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 1    JOHN ELLIS (No. 59328)
      Jellis@ellislegal.com
 2    ELLIS LEGAL P.C.
      200 West Madison Street, Suite 2670
 3    Chicago, Illinois 60606
      Telephone: (312) 967-7629
 4
      Attorneys for Defendants
 5    BUZZ FINCO L.L.C.
      BUZZ BIDCO L.L.C.
 6

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 8
                               UNITED STATES DISTRICT COURT
 9
                               NORTHERN DISTRICT OF ILLINOIS
10
                                         WESTERN DIVISION
11

12    TIMOTHY GARNER, individually and on behalf of            Case No. ________________
      similarly situated individuals,
13                                                             DECLARATION OF JOHN
                            Plaintiff,                         ELLIS IN SUPPORT OF
14                                                             DEFENDANTS BUZZ FINCO
             v.                                                L.L.C. AND BUZZ BIDCO
15                                                             L.L.C.’S NOTICE OF REMOVAL
      BUZZ FINCO L.L.C., a Delaware limited liability
16    company; BUZZ BIDCO L.L.C., a Delaware                   [Winnebago County Seventeenth
      limited liability company,                               Judicial Circuit Court Case No. 2021-
17                                                             L-0000307]
                            Defendants.
18

19
20           I, John Ellis, hereby declare as follows:
21           1.      I am a member of the Bar of the State of Illinois and owner of law firm of
22    Ellis Legal P.C., counsel of record for Defendants Buzz Finco LL.C. and Buzz Bidco
23    L.L.C. (collectively, “Defendants”) in the above-captioned action. I have personal
24    knowledge of the matters set forth below and, if called upon to do so, I could and would
25    testify competently thereto.
26           2.      Attached to this Declaration as Exhibit A is a true and correct copy of the
27    civil action filed by Plaintiff Timothy Garner, purportedly on behalf of himself and all
28
                                                         1
      DECLARATION OF JOHN ELLIS ISO DEFENDANTS’ NOTICE OF REMOVAL
     Case: 3:21-cv-50457 Document #: 1-1 Filed: 12/03/21 Page 2 of 21 PageID #:7



 1    similarly situated individuals, in the Seventeenth Circuit Court of Illinois, Winnebago
 2    County, entitled Timothy Garner v. Buzz Finco L.L.C. et al., Case No 2021-L-0000307.
 3           3.      Attached hereto as Exhibit B is a true and correct copy of the Notice of
 4    Removal (without exhibits) that was filed in the Seventeenth Circuit Court of Illinois,
 5    Winnebago County.
 6           I declare under penalty of perjury under the laws of the State of Illinois and the
 7    United States that the foregoing is true and correct.
 8           Executed this 3rd day of December, 2021 in Chicago, Illinois.
 9

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11                                                            _/s/ John C. Ellis

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                                                         2
      DECLARATION OF JOHN ELLIS ISO DEFENDANTS’ NOTICE OF REMOVAL
Case: 3:21-cv-50457 Document #: 1-1 Filed: 12/03/21 Page 3 of 21 PageID #:8




                             Exhibit A
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                              Exhibit B
     Case: 3:21-cv-50457 Document #: 1-1 Filed: 12/03/21 Page 20 of 21 PageID #:25




        IN THE CIRCUIT COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT
                       WINNEBAGO COUNTY, ILLINOIS

TIMOTHY GARNER , individually and on                 )
behalf of similarly situated individuals,            )
                                                     )
                       Plaintiffs,                   )       Case No. 21-L-0000307
                                                     )
v.                                                   )
                                                     )
BUZZ FINCO L.L.C. a Delaware limited                 )
liability company; BUZZ BIDCO L.L.C.                 )
GAMING CORPORATION, a Delaware limited               )
liability company                                    )
                                                     )
                       Defendants.                   )

          NOTICE TO STATE COURT OF REMOVAL TO FEDERAL COURT

        Please take notice that Defendants BUZZ FINCO L.L.C. AND BUZZ BIDCO L.L.C.

(“DEFENDANTS”), have, on December 3, 2021, filed a Notice of Removal with the Clerk of the

United States District for the Northern District of Illinois, to remove the above-referenced cause,

No. 19-L-0000307, from the Circuit Court of Winnebago County to the United States District

Court for the Northern District of Illinois. A copy of Defendants’ Notice of Removal is attached

hereto and marked as “Exhibit A.”

Dated: December 3, 2021                                      Respectfully submitted,

                                                             By: /s/ John C. Ellis
                                                                 Attorney for Defendants


John C. Ellis
ELLIS LEGAL P.C.
200 W. Madison Street, Suite 2670
Chicago, Illinois 60606
(312) 976-7629
jellis@ellislegal.com
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                                CERTIFICATE OF SERVICE
        The undersigned, an attorney, hereby certifies that on December 3, 2021, a true and
correct copy of the foregoing document was served via email, upon the following:


Timothy P. Kingsbury
Brendan Duffner
MCGUIRE LAW, P.C.
55 W. Wacker Dr., 9th Fl.
Chicago, IL 60601
tkingsbury@mcgpc.com
bduffner@mcgpc.com



                                                                   /s/ John C. Ellis
                                                                   Attorney for Defendants


John C. Ellis
ELLIS LEGAL P.C.
200 W. Madison Street, Suite 2670
Chicago, Illinois 60606
(312) 976-7629
jellis@ellislegal.com
